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                         UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA

__________________________________________
TRUSTEES OF THE PLUMBERS AND               )
PIPEFITTERS NATIONAL PENSION FUND          )
103 Oronoco Street                         )
Alexandria, VA 22314                       )
                                           )
TRUSTEES OF THE INTERNATIONAL              )
TRAINING FUND                              )
103 Oronoco Street                         )
Alexandria, VA 22314                       )
                                           )
       Plaintiffs,                         )
                                           )
                     v.                    ) Civil Action No._________
                                           )
J.C.. PERNELL d/b/a ALL ABOUT              )
METAL, LLC                                 )
3437 Crown Hill Road                       )
Mechanicsville, VA 23111                   )
                                           )
Serve:                                     )
J.C. Pernell                               )
3437 Crown Hill Road                       )
Mechanicsville, VA 23111                   )
                                           )
                     Defendant.            )
__________________________________________ )

                                          COMPLAINT

              (FOR BREACH OF COLLECTIVE BARGAINING AGREEMENT;
               TO COLLECT CONTRIBUTIONS DUE TO PLAINTIFF FUNDS;
            TO ENJOIN VIOLATIONS OF THE TERMS OF EMPLOYEE BENEFIT
                          PLANS AND TO COMPEL AUDIT)

                                             PARTIES

               1.      Plaintiffs Trustees of the Plumbers & Pipefitters National Pension Fund

(hereinafter the "National Pension Fund") are the trustees of a multi-employer employee benefit plan

as those terms are defined in Sections 3(3) and 3(37) of the Employee Retirement Income Security
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Act of 1974, (ERISA), 29 U.S.C. §§ 1002(3) and (37). The National Pension Fund is established

and maintained by a Restated Agreement and Declaration of Trust and by a Collective Bargaining

Agreement between United Association Local Union No. 10 and the Defendant. The National

Pension Fund is administered at 103 Oronoco Street, Alexandria, Virginia 22314.

               2.      Plaintiffs Trustees of the International Training Fund (hereinafter the

"International Training Fund") are the trustees of a multi-employer employee benefit plan as those

terms are defined in Sections 3(3) and 3(37) of the Employee Retirement Income Security Act of

1974, (ERISA), 29 U.S.C. §§ 1002(3) and (37). The International Training Fund is established and

maintained by a Restated Trust Agreement and by Collective Bargaining Agreement between the

United Association Local Union No. 10 and the Defendant. The International Training Fund is

administered at 103 Oronoco Street, Alexandria, Virginia 22314.

               3.      Defendant J.C. Pernell d/b/a All About Metal LLC is an individual doing

business as All About Metal LLC under the laws of the Commonwealth of Virginia with an office

located in Mechanicsville, Virginia. Defendant transacts business in the Commonwealth of Virginia

as a contractor or subcontractor in the plumbing and pipefitting industry and at all times herein was

an "employer in an industry affecting commerce" as defined in Sections 501(1), (3) and 2(2) of the

Labor-Management Relations Act (LMRA), 29 U.S.C. §§ 142(1), (3) and 152(2); Sections 3(5), (9),

(11), (12) and (14) of ERISA, 29 U.S.C. §§ 1002(5), (9), (11), (12) and (14); and Section 3 of the

Multiemployer Pension Plan Amendments Act of 1980, 29 U.S.C. § 1001a.

               4.      Defendant All About Metal LLC is a Virginia business existing under the

laws of the Commonwealth of Virginia with an office located in Mechanicsville, Virginia.

Plaintiffs confirmed All About Metal’s existence as a limited liability company in the

Commonwealth of Virginia.         Defendant All About Metal LLC transacts business in the

Commonwealth of Virginia as a contractor or subcontractor in the plumbing and pipefitting
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industry and at all times herein was an "employer in an industry affecting commerce" as defined

in Sections 501(1), (3) and 2(2) of the Labor-Management Relations Act (LMRA), 29 U.S.C. §§

142(1), (3) and 152(2); Sections 3(5), (9), (11), (12) and (14) of ERISA, 29 U.S.C. §§ 1002(5),

(9), (11), (12) and (14); and Section 3 of the Multiemployer Pension Plan Amendments Act of

1980, 29 U.S.C. § 1001a.



                                          JURISDICTION

               5.      This Court has jurisdiction of this action under Sections 502 and 515 of

ERISA, 29 U.S.C. §§ 1132 and 1145, and under Section 301 of LMRA, 29 U.S.C. § 185(a). This is

an action for breach of a Collective Bargaining Agreement between an employer and labor

organizations representing employees in an industry affecting commerce, an action to collect

contributions due to an employee benefit plans under the terms of the Collective Bargaining

Agreements, and an action to enjoin the violation of the terms of employee benefit plans.

                                        COMMON FACTS

               6.      Defendant is signatory to the Collective Bargaining Agreement with United

Association Local Union No. 10 establishing the terms and conditions of employment for

journeymen and apprentice plumbers and pipefitters employed by the Defendant.

               7.      Pursuant to the Collective Bargaining Agreement, Defendant agreed to pay to

the National Pension Fund certain sums of money for each hour worked by employees of the

Defendant covered by the Collective Bargaining Agreement.

               8.      Pursuant to the Collective Bargaining Agreement, Defendant agreed to pay to

the International Training Fund certain sums of money for each hour worked by employees of the

Defendant covered by the Collective Bargaining Agreement.



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                9.    Defendant employed certain employees covered under the Collective

Bargaining Agreement during this period and continuing.

                                         COUNT I
                                   (TO COMPEL AN AUDIT)

                10.   Plaintiffs hereby adopt, incorporate and restate in Count I paragraphs 1

through 9.

                11.   An audit of Defendant J.C. Pernell d/b/a All About Metal LLC’s records

from January 1, 2014 through the date of the audit, will permit the Plaintiffs to determine

whether the Defendant is properly reporting the correct number of employees working under the

Collective Bargaining Agreement, the correct number of hours worked by the employees, the

correct contribution rates and the correct amounts owed to each of the Plaintiffs.

                12.   The Defendant has refused requests to cooperate in a payroll audit

conducted on behalf of the Plaintiffs by the certified public accounting firm of Calibre CPA

Group, PLLC.

                13.   Pursuant to the Defendant’s Collective Bargaining Agreement, the

Defendant is a party to and bound to the terms and conditions of the Restated Agreements and

Declarations of Trust establishing the Plumbers and Pipefitters National Pension Fund and the

Restated Trust Agreement establishing the International Training Fund (hereinafter “Trust

Agreements”).

                14.   Under the terms of the Collective Bargaining Agreement and Plaintiffs’

Trust Agreements, and Section 502(a)(3) of ERISA, 29 U.S.C. § 1132(a)(3), and Central States

Pension Fund v. Central Transport, Inc., 472 U.S. 559 (1985), the Plaintiffs are entitled to obtain

and conduct an audit of John J. Freeman, Jr. & Co., Inc. a/k/a John J. Freeman & Company’s




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payroll and related records and an employer is obligated to submit to a payroll compliance

review conducted by the Plaintiffs.

               WHEREFORE, the Plaintiffs pray for judgment as follows:

               A.       For a Court Order requiring Defendant J.C. Pernell d/b/a All About Metal

LLC to submit all payroll books and records to the Plaintiffs, and to cooperate with the

Plaintiffs’ designee, the certified public accounting firm of Calibre CPA Group, PLLC, to

complete a payroll compliance review, at the Defendant’s expense, for the period of January 1,

2014 through the date the audit can be conducted.

               B.       To enter judgment against the Defendant J.C. Pernell d/b/a All About

Metal LLC in the amount of reasonable attorneys’ fees and costs incurred by the Plaintiffs in

bringing this action.

               C. For such further relief as the Court may deem appropriate.

                                             COUNT II

               15.      This Court has jurisdiction of this action under §§ 502(a)(3), (f), (g) and

515 of ERISA of 1974, 29 U.S.C. §§ 1132(a)(3), (f), (g) and 1145. This is an action to enjoin

violations of the terms of employee benefit plans.

               16.      Plaintiffs hereby adopt, incorporate and restate in Count II paragraphs 1

through 14.

               17.      Defendant, pursuant to the Restated Agreement and Declaration of Trust

establishing the National Pension Fund and the Restated Trust Agreement establishing the

International Training Fund, agreed to make timely contributions to the National Pension Fund

and the International Training Fund in the amounts and on the dates required by its Collective

Bargaining Agreement with United Association Local Union No. 10 in order to maintain the plan

of benefits provided through the National Pension Fund and the International Training Fund.
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               18.    Defendant has repeatedly failed to submit timely reports or contributions

to the National Pension Fund and the International Training Fund in violation of the

requirements of the aforementioned Restated Agreement and Declaration of Trust of the

National Pension Fund and the Restated Trust Agreement of the International Training Fund.

               WHEREFORE, in Count II Plaintiff Funds pray for judgment as follows:

               A.     For a Court Order enjoining violations of the terms of the Plaintiff

employee benefit plans and requiring Defendant to submit timely contributions and reports to the

Plaintiff Funds.

               B.     For such further relief as the Court may deem appropriate.

                                                   Respectfully submitted,


                                                By __/s/______________________________
                                                   John R. Harney, Bar No. 41520
                                                   Counsel for Plaintiff Funds
                                                   O'Donoghue & O'Donoghue LLP
                                                   5301 Wisconsin Ave., NW, Suite 800
                                                   Washington, DC 20016
                                                   Telephone No.: (202) 362-0041
                                                   Facsimile No.: (202) 362-2640
                                                   jharney@odonoghuelaw.com



                                                By:__/s/_____________________________
                                                   Rebecca Richardson, Bar No. 80855
                                                   Counsel for Plaintiff Funds
                                                   O’Donoghue & O’Donoghue LLP
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                                   CERTIFICATE OF SERVICE


           This is to certify that a copy of the foregoing Complaint has been served by certified

mail, as required by 502(h) of the Employee Retirement Income Security Act of 1974, 29 U.S.C.

§ 1132(h) this 10th day of February, 2020 on the following:


                         The Office of Division Counsel
                         Associate Chief Counsel (TE/GE) CC:TEGE
                         Room 4300
                         1111 Constitution Avenue
                         Washington, DC 20224

                         Attention: Employee Plans

                         Secretary of Labor
                         200 Constitution Ave., N.W.
                         Washington, DC 20210

                         Attention: Assistant Solicitor for
                                    Plan Benefits Security



                                                       __/s/______________________________
                                                       John R. Harney, Bar No. 41520
                                                       Counsel for Plaintiff Funds
                                                       O'Donoghue & O'Donoghue LLP
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